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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 §
             Plaintiff,                   §
                                          §
vs.                                       § Case No. 1:21-cr-00191-JEB-1
                                          §
RYAN SCOTT ZINK,                          §
              Defendant.                  §


      JOINT MOTION FOR CONTINUANCE OF STATUS CONFERENCE

TO THE HONORABLE JAMES E. BOASBERG, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT of COLUMBIA:

       COME NOW, Defendant RYAN SCOTT ZINK, and the United State of

America through their Counsel, and file this joint motion for continuance of status

conference, and would show following in support of this motion:


       1.      Undersigned Counsel have conferred and agreed it appropriate to

continue the status conference that is currently set for May 19, 2021.

       2.      Undersigned Counsel are engaged in the provision of discovery and

reciprocal discovery which is not completed. They continue to communicate and to

identify additional discovery. Counsel have not reached the point where they are able

to file motions and litigate this case.

       3.      Undersigned Counsel requests a 30-day continuance.


       This request is not being made for the purposes of delay, but rather so that

justice can be served. The parties acknowledge that any continuance granted in this

case is excludable under the Speedy Trial Act as delay resulting from a continuance

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granted at the request of the parties because the ends of justice served by the

continuance outweigh the public interest in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).



      WHEREFORE, PREMISES CONSIDERED, the parties respectfully prays

this Court to grant this Joint Motion for Continuance of the Status Conference.



                                              Respectfully submitted,


                                              By:    /s/ Cynthia E. Orr
                                                     Cynthia E. Orr

                                              CYNTHIA E. ORR*
                                              Bar No. 15313350
                                              GERALD H. GOLDSTEIN
                                              Bar No. 08101000
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                                              Attorneys for Defendant,
                                              RYAN SCOTT ZINK


                                          Ryan Zink (May 17, 2021 21:52 CDT)
                                                     RYAN SCOTT ZINK,
                                                     Defendant




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                                             By: /s// Janani Iyengar
                                                   Janani Iyengar

                                             JANANI IYENGAR
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                                             Attorney for the Government




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing has been electronically

delivered to Assistant United States Attorney Janani Iyengar, as a registered

participant to the CM/ECF document filing system, on this the 17th day of May 2021.




                                      By:____/s/ Cynthia E. Orr
                                            Cynthia E. Orr




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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,             §
             Plaintiff,               §
                                      §
vs.                                   § Case No. 1:21-cr-00191-JEB-1
                                      §
RYAN SCOTT ZINK,                      §
              Defendant.              §


                                     ORDER


      On this the ________ day of ___________________, 2021, came to be considered

the Joint Motion for Continuance of the Status Conference, and the Court having

considered the same, hereby, orders this motion:


                        GRANTED.                   DENIED.


      The new date for Status Conference will be: ______________________




      SIGNED on this the ________ day of _______________, 2021.




                                      THE HONORABLE JAMES E. BOASBERG
                                      UNITED STATES DISTRICT JUDGE




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